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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

STEPHEN M. GRUVER, ET AL.                                                         CIVIL ACTION

VERSUS
                                                                                  NO. 18-772-SDD-EWD
STATE OF LOUISIANA THROUGH
THE BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND AGRICULTURAL AND
MECHANICAL COLLEGE, ET AL.
                                                      ORDER

         Due to a clerical error in the previously issued scheduling order, it is hereby amended as

follows:1

         1.       The deadline to join other parties or to amend the pleadings is October 14, 2021.2
                  Regardless of whether leave is timely under this provision, a party seeking to amend
                  must comply with the requirements of Fed. R. Civ. Proc. 15.

         2.       Discovery must be completed as follows:

                  a.       Exchanging initial disclosures required by F.R.C.P. 26(a)(1): March 1,
                           2021

                  b.       Filing all discovery motions and completing all discovery except experts:
                           January 30, 2022

                  NOTE: Any motions filed regarding discovery must be accompanied by a
                  certificate of counsel for the moving party, stating that counsel have conferred in
                  person or by telephone for purposes of amicably resolving the issues and stating
                  why they are unable to agree or stating that opposing counsel has refused to so
                  confer after reasonable notice.

                  c.       Disclosure of identities and resumés of experts and exchange of expert
                           reports.
                           Plaintiff(s):                         March 1, 2022
                           Defendant(s):                         April 13, 2022
                           Plaintiffs’ Rebuttal Expert(s):       May 13, 2022

                  d.       Discovery from experts must be completed by June 21, 2022.
1
  Prior deadlines are restated here for ease of reference unless expired. All new deadlines are indicated in bold type.
2
  Amendments sought after this deadline may be permitted in accordance with the good cause standard of Rule 16 of
the Federal Rules of Civil Procedure.
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         3.       Deadline to file dispositive motions and Daubert motions: July 21, 2022.

         4.       Deadline to file pre-trial order: January 24, 20233

                  Prior to the filing of the pretrial order, the parties will exchange or make available
                  for inspection all exhibits which the parties will or may introduce at trial.

         5.       Deadline to file motions in limine: February 6, 2023

                  Any responses to Motions in Limine shall be filed within seven (7) days after the
                  filing of the motion.

         6.       Deadline to file an affidavit of settlement efforts: January 17, 2023

         7.       Pre-trial conference date: February 7, 2023 at 2:30 p.m. in the chambers of the
                  Honorable Shelly D. Dick.

         8.       Deadline to file Proposed Findings of Fact and Conclusions of Law: February 6,
                  2023

         9.       Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs
                  to the presiding judge: February 20, 2023

                  The information regarding the Honorable Shelly D. Dick’s pretrial order may be
                  found on the court's website at (http://www.lamd.uscourts.gov) under “Judges’
                  Info.”

         10.      A 15-day jury trial is scheduled for 9:00 a.m. beginning on February 27, 2023 in
                  Courtroom 3.

         The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order deadlines

will not be granted automatically. All motions to extend scheduling order deadlines must be

supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P. Extensions

of deadlines governing discovery must be supported with information describing the discovery

already completed, what necessary discovery remains, the parties’ efforts to complete the

remaining discovery by the deadline, and any additional information showing that the parties have


3
  Motions to extend or otherwise modify this date and the dates/deadlines that follow shall be directed to the district
judge.
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diligently pursued their discovery. Further, a motion to extend any deadline set by this Order must

be filed before its expiration.

        Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (http://www.lamd.uscourts.gov) under

“E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

        The parties may contact the court at (225) 389-3584 should they wish to schedule a

settlement conference.

        Signed in Baton Rouge, Louisiana, on February 22, 2021.


                                             S
                                             ERIN WILDER-DOOMES
                                             UNITED STATES MAGISTRATE JUDGE
